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  IT IS ORDERED as set forth below:



  Date: July 27, 2018
                                                       _____________________________________
                                                                  Wendy L. Hagenau
                                                             U.S. Bankruptcy Court Judge

_______________________________________________________________



                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION
   IN RE:                                         )      CASE NO.: 18-62379-WLH
                                                  )
   STANLEY GENE RILEY                             )
                                                  )      CHAPTER 13
                  Debtor.                         )
                            ORDER AND NOTICE OF HEARING

            On July 27, 2018, Debtor filed a Motion for Emergency Hearing (Doc. No. 9),

   seeking an emergency hearing on Debtor’s Motion to Impose Automatic Stay (Doc. No.

   8). For good cause shown, it is hereby

            ORDERED that Debtor’s Motion for Emergency Hearing is GRANTED. A

   hearing on Debtor’s Motion to Impose Automatic Stay (Doc. No. 8) will be held on

   August 1, 2018, at 10:00 A.M. in Courtroom 1403, United States Courthouse, 75 Ted

   Turner Drive, SW, Atlanta, Georgia 30303. Debtor’s counsel is directed to serve this

   Order and Notice by e-mail, facsimile, or over-night mail on the Chapter 13 Trustee and

   all creditors and shall file a certificate evidencing such service within one day thereafter.

                                     END OF DOCUMENT
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   Prepared by:

    /s/______________
   Howard Slomka
   Georgia Bar # 652875
   Slipakoff and Slomka, P.C.
   Attorney for Debtor
   2859 Paces Ferry Road, SE
   Suite 1700
   Atlanta, GA 30339




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   Howard Slomka
   Slipakoff and Slomka, P.C.
   2859 Paces Ferry Road, SE
   Suite 1700
   Atlanta, GA 30339
